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                                        UNITED STATES BANKRUPTCY COURT
                                                  Central DISTRICT OF California
                                                          Los Angeles Division


In Re. LESLIE KLEIN                                                 §                   Case No. 23-10990
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 07/31/2023                                                        Petition Date: 02/22/2023

Months Pending: 5                                                                         Industry Classification:    0   0    0     0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Bradley Sharp, Chapter 11 Trustee                                        Bradley Sharp, Chapter 11 Trustee
Signature of Responsible Party                                               Printed Name of Responsible Party
08/22/2023
                                                                             333 S Grand Ave Suite 4100
Date
                                                                             Los Angeles, CA 90071
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name LESLIE KLEIN                                                                        Case No. 23-10990


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative
                                                                                                                                  [1][2]

a.   Cash balance beginning of month                                                          $51,112
b.   Total receipts (net of transfers between accounts)                                      $757,857                  $805,588
c.   Total disbursements (net of transfers between accounts)                                        $25                  $1,386
d.   Cash balance end of month (a+b-c)                                                       $808,944
e.   Disbursements made by third party for the benefit of the estate                                 $0                      $0
f.   Total disbursements for quarterly fee calculation (c+e)                                        $25                  $1,386
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                    $808,944                              [3]
e.   Total assets                                                                         $15,091,329
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                             $31,564,857
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                 $97,928
n.   Total liabilities (debt) (j+k+l+m)                                                   $31,662,785
o.   Ending equity/net worth (e-n)                                                        $-16,571,456

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                      $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                      $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                      $0


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Part 5: Professional Fees and Expenses                                                                                                        [4]

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Michael Berger                    Other
       ii       Bradley Sharp                     Other
       iii      Development Specialists, Inc      Financial Professional
       iv
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       x
       xi
       xii
       xiii
       xiv
       xv
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       xx
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       xxiii
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       xxx
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       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi


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       xxxix
       xl
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       xcviii
       xcix
       c
       ci

                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                        Role
       i
       ii
       iii
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       xiv


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         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                $0
b.      Gross income (receipts) from self-employment                                                                 $0
c.      Gross income from all other sources                                                                  $12,500
d.      Total income in the reporting period (a+b+c)                                                         $12,500
e.      Payroll deductions                                                                                           $0
f.      Self-employment related expenses                                                                             $0
g.      Living expenses                                                                                              $0
h.      All other expenses                                                                                          $25
i.      Total expenses in the reporting period (e+f+g+h)                                                            $25
j.      Difference between total income and total expenses (d-i)                                             $12,475
k.      List the total amount of all postpetition debts that are past due                                            $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Bradley Sharp                                                               Bradley Sharp
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chapter 11 Trustee                                                              08/22/2023
Title                                                                           Date




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                                            Bankruptcy1to50




                                           Bankruptcy51to100




                                          NonBankruptcy1to50




                                         NonBankruptcy51to100




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Chapter 11 Trustee Comments and Disclaimers to the July 2023 Monthly
Opera ng Report
The Trustee reserves all rights to amend or supplement the MOR in all respects, as may be necessary or
appropriate. Nothing contained in this MOR shall constitute a waiver of any of the Trustee’s or the
estate’s rights or an admission with respect to the Chapter 11 Case.

The Trustee is filing the MOR solely for the purpose of complying with the monthly opera ng
requirements applicable in the Debtor’s Chapter 11 case. The MOR is in a format acceptable to the U.S.
Trustee for the Central District of California, Los Angeles Division (the “U.S. Trustee”). The MOR should
not be relied upon by any persons for informa on rela ng to current or future financial condi ons,
events, or performance of the estate.

In preparing the MOR, the Trustee relied on financial data derived from the limited books and records
available at the me of prepara on. Subsequent informa on or discovery may result in material changes
to the MOR and errors or omissions may exist. Notwithstanding any such discovery, new informa on, or
errors or omissions, the Trustee does not hereby undertake any obliga on or commitment to update the
MOR. There can be no assurance that the financial informa on presented herein is complete, and
readers are strongly cau oned not to place undue reliance on the MOR.

[1]    The Trustee was appointed on May 24, 2023 and the Trustee or his representa ves have
reviewed the February 2023 and March 2023 monthly opera ng reports (“February 2023 MOR” and
“March 2023 MOR”) to iden fy the bank accounts used and gathered addi onal, but incomplete,
informa on in order to prepare the July 2023 monthly opera ng report. The Debtor filed the April 2023
monthly opera ng report (“April 2023 MOR”) on August 8, 2023. The Trustee reserves the right to
amend this and any subsequent monthly opera ng report upon receipt of any addi onal relevant
informa on.

[2]      The Trustee considered transfers between bank accounts that were included in the February
2023 MOR and March 2023 MOR as a transfer between accounts and did not include these transfers as
receipts or disbursements. However, if a bank account was not previously included in the February 2023
MOR or March 2023 MOR, the Trustee considered transfers involving these accounts as receipts and
disbursements, with one excep on. The Trustee considered the transfer of $36,300 to Bank of the West
(“BotW”) on May 22, 2023 as a transfer and not a disbursement in determining the total disbursements
for calcula ng the quarterly fee. This is because the Debtor indicated this transfer was to open new
Debtor‐In‐Possession accounts. These accounts were closed and most (but not all) of the funds in the
BotW accounts were transferred to the Trustee on July 12, 2023. As of the date of the filing of the July
2023 MOR, the Trustee has not received the BotW bank statements or the suppor ng documents and is
unable to verify certain data presented, however the Trustee believes that the diﬀerence between the
funds transferred to BotW on May 22, 2023 and the funds received from BotW on July 12, 2023
represents bank fees charged.

[3]      The Trustee also has brokerage account statements from the Morgan Stanley Brokerage account
ending in ‐4523 for May 2023 but has not received statements for June 2023 or July 2023. This account
is included in the current assets of Part 2d at the May 31, 2023 balance amount.
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[4]      On March 2, 2023 Michael Berger filed for approval of an order authorizing his employment as
general bankruptcy counsel (Doc 24) which was approved June 5, 2023 (Doc 165). Prior to the approval,
Mr. Berger was replaced as bankruptcy counsel by Eric Olson on May 23, 2023 (Doc 150). The Debtor
filed a subs tu on of a orney on July 24, 2023 (Doc 200), subs tu ng Michael S. Kogan as a orney of
record, replacing Eric Olson.

On June 20, 2023, the Trustee filed applica ons to employ Development Specialists, Inc. (“DSI”) as
forensic accountants (Doc 180) and Pachulski, Stang, Ziehl & Jones (“PSZJ”) as bankruptcy counsel (Doc
177). The order approving the employment of DSI was entered on July 26, 2023 (Doc 213) and a hearing
to consider the employment of PSZJ was scheduled for August 9, 2023 and then was con nued to
September 6, 2023.
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July 2023 Assets
                                                                                  Source
Current Assets
  Cash                                                          $   808,943.71 MOR Part 1d
  Morgan Stanley Brokerage                                            8,385.24 Brokerage Statement

Total Current Assets                                            $   817,328.95

Other Assets
  Real Estate                                                                     Schedule A/B Summary Page
    322 N. June St                             $ 2,450,000.00                     Schedule A/B Summary Page
    315 N. Martel Ave                            2,500,000.00                     Schedule A/B Summary Page
    143 S. Highland Drive                        2,200,000.00                     Schedule A/B Summary Page
    161 N. Poinsettia Place                      2,000,000.00                     Schedule A/B Summary Page
    2560‐B Whitewater Club Drive                   350,000.00                     Schedule A/B Summary Page
    3752 Ocean Drive                             2,400,000.00                     Schedule A/B Summary Page
    Leonardo Plaza Hotel                           225,000.00                     Schedule A/B Summary Page
    Dan Boutique Hotel                             100,000.00                     Schedule A/B Summary Page
  Total Real Estate                                             $ 12,225,000.00

  Personal/Household Items                                            49,000.00 Schedule A/B Summary Page

  Financial/Other
    Issac Kirzner Insurance Policy Payout      $ 1,000,000.00                     Schedule A/B Summary Page
    Judith Bittman Insurance Policy Payout       1,000,000.00                     Schedule A/B Summary Page
  Total Financial/Other                                         $ 2,000,000.00

Total Other Assets                                              $ 14,274,000.00


Total Assets                                                    $ 15,091,328.95




Prepared by Development Specialists, Inc
Preliminary, subject to change and/or review
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Bankruptcy Estate of Leslie Klein    Main Document    Page 16 of 29
Prepetition Liabilities
                                                                     Source
Prepetition Secured Debt
  CCO Mortgage Corp.                              $       19,372.00 Schedule D
  Chase Mortgage                                         138,719.00 Schedule D
  Ericka and Joseph Vago                              24,334,038.99 Schedule D
  Fay Servicing                                          712,265.00 Schedule D
  Fay Servicing                                          327,886.00 Schedule D
  Fiore Racobs & Powers                                   49,436.57 Schedule D
  Gestetner Charitable Remainder Trust                 2,000,000.00 Schedule D
  Los Angeles County Tax Collector                        15,000.00 Schedule D
  Mrc/united Wholesale                                   954,432.00 Schedule D
  Selene Finance                                       1,755,385.00 Schedule D
  Shellpoint Mortgage Servicing                        1,213,516.00 Schedule D
  Toyota Financial Services                               34,318.00 Schedule D
  Toyota Financial Services                               10,488.00 Schedule D

Total Prepetition Secured Debt                    $ 31,564,856.56

Total Prepetition Priority Debt                               0.00 Schedule E

Prepetition Unsecured Debt
  Bank of America                                 $       7,450.00 Schedule F
  Bank of America                                         1,566.00 Schedule F
  Barclays Bank Delaware                                  8,896.00 Schedule F
  California Bank & Trust                                 1,695.00 Schedule F
  Chase Card Services                                    22,278.00 Schedule F
  Chase Card Services                                    22,095.00 Schedule F
  Chase Card Services                                    17,555.00 Schedule F
  Chase Card Services                                    15,112.00 Schedule F
  Citibank                                                1,281.00 Schedule F
  Franklin H. Menlo Irrevocable Trust                  Unknown     Schedule F
  Jeffrey Siegel, Succerssor Trustee                   Unknown     Schedule F

Total Prepetition Unsecured Debt                  $      97,928.00


Total Liabilities                                 $ 31,662,784.56

Note: The instructions to completing the MOR state that "[Prepetition debts]
should reflect the secured, priority, and general unsecured debts as disclosed on
the most recently filed bankruptcy schedules less any payments made on these
debts since the bankruptcy was filed" and thus do not reflect any proofs of claim
filed.




Prepared by Development Specialists, Inc
Preliminary, subject to change and/or review
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Insurance Coverage Schedule
Real Property
    Property Address 1                    Insurance Issuer             Policy No.      Policy Expiration Date
    322 N. June Street                    Bamboo                BSNH3‐2023‐117545‐01          07/07/24
    315 N. Martel Avenue                  Farmers                     921069136               09/20/23
    143 S. Highland Ave.                  Farmers                     933575718               07/17/24
    161 N. Poinsettia Place               Safeco                      08513547                03/07/24
    2560‐B Whitewater Club Drive          Great American Ins.     1134133 & 1134135       Until Cancelled
    3752 Ocean Drive                      Mercury                 CAHP 0000757684             09/15/23

Automobiles
   Vehicle                                Insurance Issuer           Policy No.        Policy Expiration Date
   2021 Lexus ES 350                      Mercury                 CAAP0000189681              2/1/2024
   2021 Lexus LS 500                      Mercury                 CAAP0000189681              2/1/2024




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July 2023 Cash Activity
Cash 6/30/23                                   $ 51,111.61
Receipts                                        757,857.10
Intra‐Debtor Transfers In                         72,570.00
Intra‐Debtor Transfers Out                       (72,570.00)
Disbursements                                        (25.00)

Ending Cash                                    $ 808,943.71

Unrestricted
    Bank of America ‐8530 (General)                   $0.00    Account Closed June 2023
    East‐West Bank ‐8746 (General)                 2,070.36
Restricted
    Bank of America ‐8543 (Poinsettia)                $0.00    Account Closed June 2023
    Bank of America ‐8572 (Highland)                   0.00    Account Closed June 2023
    Bank of America ‐8608 (Martel)                     0.00    Account Closed June 2023
    Various Bank of the West Accounts                  0.00    Account Closed July 2023
    East‐West Bank ‐8760 (Highland)               20,100.75
    East‐West Bank ‐8753 (Martel)                 26,324.75
    East‐West Bank ‐8767 (Poinsettia)             15,100.75
    East‐West Bank ‐8879 (Life Capital)          745,347.10
Total                                          $ 808,943.71




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Bankruptcy Estate of Leslie Klein
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July 2023 Cash Receipts and Disbursements

  Date       Account                    Description                         Receipt          Disbursement     Balance        Comments
06/30/23     East‐West Bank ‐8746       Beginning Balance                                                        2,070.36   Beginning Balance
07/12/23     East‐West Bank ‐8746       Deposit from Bank of the West        36,285.00                          38,355.36   Bank of the West Transfer
07/18/23     East‐West Bank ‐8746       Transfer to ‐8767                                        (9,000.00)     29,355.36   Intra‐Debtor Transfer
07/18/23     East‐West Bank ‐8746       Transfer to ‐8760                                       (12,000.00)     17,355.36   Intra‐Debtor Transfer
07/18/23     East‐West Bank ‐8746       Transfer to ‐8753                                       (15,285.00)      2,070.36   Intra‐Debtor Transfer

06/30/23     East‐West Bank ‐8753       Beginning Balance                                                       5,539.75    Beginning Balance
07/18/23     East‐West Bank ‐8753       Transfer from ‐8746                  15,285.00                         20,824.75    Intra‐Debtor Transfer
07/19/23     East‐West Bank ‐8753       Rent                                  5,500.00                         26,324.75    Receipt

06/30/23     East‐West Bank ‐8760       Beginning Balance                                                       4,100.75    Beginning Balance
07/18/23     East‐West Bank ‐8760       Transfer from ‐8746                  12,000.00                         16,100.75    Intra‐Debtor Transfer
07/19/23     East‐West Bank ‐8760       Rent                                  4,000.00                         20,100.75    Receipt

06/30/23     East‐West Bank ‐8767       Beginning Balance                                                       3,100.75    Beginning Balance
07/18/23     East‐West Bank ‐8767       Transfer from ‐8746                    9,000.00                        12,100.75    Intra‐Debtor Transfer
07/19/23     East‐West Bank ‐8767       Rent                                   3,000.00                        15,100.75    Receipt

06/30/23     East‐West Bank ‐8879       Beginning Balance                                                            ‐      Beginning Balance
07/28/23     East‐West Bank ‐8879       Life Capital Group Funds Transfer   745,353.42                        745,353.42    Receipt
07/28/23     East‐West Bank ‐8879       Wire Transfer Fee                                           (10.00)   745,343.42    Disbursement
07/31/23     East‐West Bank ‐8879       East West Bank ‐ Interest                     3.68                    745,347.10    Receipt




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Month:                                                         Jul‐23

Bank Name                                           East‐West Bank
Bank Account                                                    ‐8746

Starting Bank Balance                                       2,070.36

Receipts
                         Bank of the West Deposit          36,285.00

Total Receipts                                             36,285.00

Disbursements
                         None                                   0.00

Total Disbursements                                             0.00


Transfers
                         Transfer to ‐8753                (15,285.00)
                         Transfer to ‐8767                 (9,000.00)
                         Transfer to ‐8760                (12,000.00)

Total Transfers                                           (36,285.00)

Ending Bank Balance                                         2,070.36




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Month:                                                    Jul‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8753

Starting Bank Balance                                  5,539.75

Receipts
                         Transfer from ‐8746          15,285.00
                         Martel Rent                   5,500.00

Total Receipts                                        20,785.00

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         None                              0.00

Total Transfers                                            0.00

Ending Bank Balance                                   26,324.75




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Month:                                                    Jul‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8760

Starting Bank Balance                                  4,100.75

Receipts
                         Transfer from ‐8746          12,000.00
                         Highland Rent                 4,000.00

Total Receipts                                        16,000.00

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         None                              0.00

Total Transfers                                            0.00

Ending Bank Balance                                   20,100.75




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Month:                                                    Jul‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8767

Starting Bank Balance                                  3,100.75

Receipts
                         Transfer from ‐8746           9,000.00
                         Poinsettia Rent               3,000.00

Total Receipts                                        12,000.00

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         None                              0.00

Total Transfers                                            0.00

Ending Bank Balance                                   15,100.75




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Month:                                                     Jul‐23

Bank Name                                       East‐West Bank
Bank Account                                                ‐8879

Starting Bank Balance                                       0.00

Receipts
                         Life Capital Group          745,353.42
                         Bank Interest                     3.68

Total Receipts                                       745,357.10

Disbursements
                         Wire Fee                          ‐10.00

Total Disbursements                                       (10.00)


Transfers
                         None                               0.00

Total Transfers                                             0.00

Ending Bank Balance                                  745,347.10




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